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                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION

GARRY JEAN-LOUIS and MURIELLE       *
JEAN-LOUIS,                         *
                                    *
      Plaintiffs,                   *                 Case No.       3:22-cv-51-CDL
                                    *
v.                                  *
                                    *
APRIL COMBS and ANGELA              *
BOLEMON,                            *
                                    *
      Defendants.                   *
___________________________________ *

                  NOTICE OF SUBSTITUTION OF PARTY DEFENDANT

       Please take notice that, pursuant to the provisions of the Federal Employees Liability

Reform and Tort Compensation Act of 1988 (codified at 28 U.S.C. § 2679 and commonly known

as the Westfall Act), the United States is hereby substituted for Defendant April Combs with

respect to the claims raised against her in Plaintiffs’ complaint.

       Plaintiffs have filed an action against Defendant April Combs, an employee of the Drug

Enforcement Administration, a federal agency, contending that she is responsible for damages

sustained in a motor vehicle accident. Under 28 U.S.C. § 2679, no action may be brought against

a federal employee for negligence; rather, the remedy is exclusively against the United States. The

law further provides that:

       Upon certification by the Attorney General that the defendant employee was
       acting within the scope of his office or employment at the time of the incident
       out of which the claim arose … [s]uch action or proceeding shall be deemed to
       be an action or proceeding brought against the United States … and the United
       States shall be substituted as the party defendant.

28 U.S.C. § 2679(d)(2).
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       The Attorney General has delegated certification authority to the United States Attorneys.

See 28 C.F.R. §§ 15.3, 15.4. In this action, the United States Attorney for the Middle District of

Georgia has certified that Defendant April Combs was acting within the scope of her employment

at the time of the conduct alleged.        See Certification of Scope of Employment, filed

contemporaneously herewith. Based on this Certification, the United States has, by operation of

law, been substituted as Defendant with respect to all claims under the Federal Tort Claims Act

against Defendant April Combs in the instant action.

       This 4th day of May, 2022.

                                             PETER D. LEARY
                                             UNITED STATES ATTORNEY


                                     By:     /s/ Kevin D. Abernethy
                                             Kevin D. Abernethy
                                             Assistant United States Attorney
                                             Georgia Bar No. 142310
                                             UNITED STATES ATTORNEY’S OFFICE
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this date electronically filed the within and foregoing Notice

of Substitution of Party Defendant with the Clerk of Court using the CM/ECF system. I also

certify that the following parties have been served on this date either by electronic means of the

Court or via U. S. Mail with proper postage affixed thereto.

       Eric L. Jensen, Esq.
       Jensen Law, LLC
       6111 Peachtree Dunwoody Road
       Building G, Suite 201
       Atlanta, Georgia 30328

       Angela Bolemon
       337 Annslee Circle
       Loganville, GA 30052


       This 4th day of May, 2022.

                                                     /s/ Kevin D. Abernethy
                                                     KEVIN D. ABERNETHY
                                                     Assistant United States Attorney
